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                                                                  E-FILED
                                         Friday, 17 May, 2019 08:29:37 PM
                                             Clerk, U.S. District Court, ILCD




Exhibit RI
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                                                     April 10, 2019

By email to counsel for Defendant IPRG:
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Re: NRDC, et al. v. IPRG – Plaintiffs’ requests for stipulations concerning admissibility and
authenticity of certain categories of documents, and full public access to Court filings and
proceedings

Dear Counsel:

        On January 4, we wrote to you to request that IPRG agree to stipulate to the authenticity
and admissibility of four categories of documents that Plaintiffs may offer into evidence at trial.
On January 16, you stated that you “believe those topics are more effectively and efficiently
addressed after the February 6 Status Conference,” and sought additional clarification on one
category of documents. We provided the clarification on a January 23 phone call with Ann and
Bina, during which Ann indicated that it might be possible to avoid further disputes as to at least
the authenticity of most of the categories referenced in our letter. We are still waiting for a
written response that states whether or not IPRG can agree to stipulate to the authenticity and/or
admissibility of each of listed category. If there are certain categories of documents as to which
IPRG is unwilling to stipulate (as to either authenticity or admissibility), please provide the
reasons for IPRG’s unwillingness to do so in writing.

        Also on January 4, we wrote to you to request that IPRG agree that certain documents,
deposition transcripts, and exhibits, designated confidential by IPRG, may be unsealed if already
filed with the Court under seal, and need not be filed or otherwise submitted under seal moving
forward. On February 5, you stated that IPRG would “evaluate which exhibits were relied upon
by the Court in this case in resolving dispositive motions and which may be unsealed by the
agreement of the parties,” and that subsequent to this review, “IPRG’s counsel will follow this
letter with its position on each such document, once it has an opportunity to review those
documents with their clients.” We are still waiting for IPRG’s position on which, if any, of the
documents, deposition transcripts, and exhibits filed with the Court under seal may be unsealed.
If IPRG is not in full agreement that documents, deposition transcripts, and exhibits filed with
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the Court may be unsealed, we ask that you please identify the specific discovery materials,
deposition transcripts, or deposition exhibits (or parts thereof) that IPRG believes should remain
under seal and explain the legal basis for IPRG’s view that those materials should continue to be
withheld from the public. We also note that the Court’s February 12 Order similarly requires the
party seeking to limit public access to the trial to affirmatively identify the need for such a
restriction in a motion in limine.

        We remain hopeful that the parties will be able to resolve these matters by stipulation. In
light of the Court’s May 17 deadline for motions in limine, we request IPRG’s written position
on the issues referenced in our January 4 letters by no later than April 22.

                                                      Sincerely,




                                                      ___________________
                                                      Selena Kyle
                                                      skyle@nrdc.org
                                                      (312) 651-7906
                                                      Counsel for Plaintiff NRDC

Cc (by email): Other counsel for Plaintiffs




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